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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


JPMorgan Chase Bank, N.A.,
                                                       DEFAULT JUDGMENT IN A CIVIL CASE
v.                              Plaintiff,
                                                       Case Number: 2:17-cv-00330-RFB-VCF

Regal Securities Inc,
SFR Investments   Pool,,1, LLC, et al.,

                                 Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the
         jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
         heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
         that judgment is entered in favor of SFR Investments Pool 1, LLC and against Terry L. Christopher.
         IT IS FURTHER ORDERED AND DECLARED that Terry L. Christopher has no right, title, or
         interest in the property located at 7505 Glowing Moon Court, Las Vegas, Nevada 89178; Parcel No.
         176-27-312-127.




          10/2/2020
         9/30/2020
         ____________________                                 DEBRA K. KEMPI
         Date                                                Clerk



                                                              /s/ M. Reyes
                                                             Deputy Clerk
